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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



                                               :        CIVIL ACTION NO.: 2:22-CV-01176-KM-
  ACRISON, INC.,                               :        ESK
                                               :
                 Plaintiff,                    :        DOCUMENT FILED
                                               :        ELECTRONICALLY
         v.                                    :
                                               :
  ANTHONY M. RAINONE, BRACH EICHLER :                                     ORDER
  LLC, JOHN P. MARTIN, XCELLENCE, INC., :
  d/b/a XACT DATA DISCOVERY, directly and :
  as successor-in-interest to RVM ENTERPRISES, :
  INC., JOHN DOES 1-10, and ABC                :
  COMPANIES 1-10,                              :
                                               :
                 Defendants.


       THIS MATTER having been opened to the Court on the motion of defendants, Anthony

M. Rainone, John P. Martin and Brach Eichler LLC, by their counsel, for the entry of an Order to

dismiss plaintiff’s complaint pursuant to Fed. R. Civ. P. 12(b)(6); and plaintiff having received

notice of the motion and having the opportunity to respond; and the Court having reviewed the

papers submitted in support of the motion and the opposition, if any; and for good cause shown;

       IT IS on this _____ day of ________________ 2022;

       ORDERED that defendants’ motion is granted and plaintiff’s complaint is hereby

dismissed with prejudice as against Anthony M. Rainone, John P. Martin and Brach Eichler LLC.




                                                    ______________________________
                                                                         , U.S.D.J.




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